Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 1 of 9



                                      Exhibit E
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 2 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 3 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 4 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 5 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 6 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 7 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 8 of 9
Case 14-31229-sgj15   Doc 174-5 Filed 02/28/17 Entered 02/28/17 17:37:17   Desc
                             Exhibit E Page 9 of 9
